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            I N T H E U N I T E D ST A T E S D I ST R I C T C O U R T F O R
                   T H E W E ST E R N D I ST R I C T O F T E X AS
                           SA N A N T O N I O D IV I SI O N

 J O E H O L C OM B E A N D                            N O : 5:18-CV-00555-XR
 C L A R Y C E H O L C OM B E ,

 Plaintiffs

 vs.

 UNITED STATES OF
 AMERICA,

 Defendant



              PLAINTIFFS’ NOTICE OF CROSS APPEAL

       In response to the Government’s notice of appeal, now docketed at the

Court of Appeals for the Fifth Circuit as Holcombe v. United States, 22-50458,

Plaintiffs give notice that they intend to cross appeal to the United States

Court of Appeals for the Fifth Circuit from the Final Judgment entered in

this action on the 5th day of April, 2022, ECF No. 597, as well as all opinions

and orders on which this final judgment is predicated.




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